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IN THE CHANCERY COURT FOR KNOX COUNTY, TENNERSBES. HOGAN

SIXTH JUDICIAL DISTRICT AT KNOXVILLE

CITY OF MONROE EMPLOYEES’
RETIREMENT SYSTEM, On Behalf of
Itself and All Others Similarly Situated,

Plaintiff,

Vs.

CTI MOLECULAR IMAGING, INC., et
al.,

Defendants.

‘ERK & MASTER

Case No. 163762-3

CLASS ACTION

MOTION OF DANIEL D. RHEA
REQUESTING ADMISSION OF
RANDALL J. BARON AND A. RICK
ATWOOD, JR. PRO HAC VICE

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COMES NOW Daniel D. Rhea and moves the Court, pursuant to Rule 19 of the
Supreme Court of The State of Tennessee and moves the Court for an Order allowing the
admission of Randall J. Baron and A. Rick Atwood, Jr. pro hac vice, stating as follows:

1. Lam a resident of the State of Tennessee, a member in good standing of the
state bar of Tennessee and licensed to practice law in Tennessee.

2. I am familiar with Randall J. Baron and A. Rick Atwood who petition this
Court for admission pro hac vice.

3. I and the law firm of Amett, Draper & Hagood will be associated as local
counsel with Randall J. Baron and A. Rick Atwood, Jr. and their law firm Lerach Coughlin
Stoia Geller Rudman & Robbins LLP in this case.

4, I can state that | find Randall J. Baron and A. Rick Atwood, Jr. to be reputable
attorneys and recommend their admission to practice before this Court.

5. Attached are the Affidavits of Randall J. Baron and A. Rick Atwood, Jr. in
support of this motion for admission pro hae vice.

WHEREFORE, Daniel D. Rhea moves this Court to admit Randall J. Baron and A.
Rick Atwood, Jr. pro hac vice before this Court in this matter.

DATED: April / 2, 2005 Respectfully submitted,
ARNETT, DRAPER, & HAGOOD

LEWIS R. HAGOOD
DANIEL D. RHEA

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Then VD Then

DANE D.RHEA GRRP OS 927

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Case 3:05-cv-00204 Document 1-4 Filed 04/15/05 Page 2of17 PagelD #: <pagelD>
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LERACH COUGHLIN STOIA GELLER
RUDMAN & ROBBINS LLP

DARREN J. ROBBINS

RANDALL J. BARON

A. RICK ATWOOD, JR.

SHAUN L. GROVE

401 B Street, Suite 1600

San Diego, CA 9210]

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BARRETT, JOHNSTON & PARSLEY
GEORGE E. BARRETT, #2672

217 Second Avenue, North

Nashville, TN 37201-1601

Telephone: 615/244-2202
615/252-3798 (fax)

Attomeys for Plaintiff

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Exhibit 1

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APR 12 P 248

IN THE CHANCERY COURT FOR KNOX COUNTY, TENNESSED G. HOGAR
SIXTH JUDICIAL DISTRICT AT KNOXVILLE ERK & MASTER

CITY OF MONROE EMPLOYEES’ Case No. 163762-3

RETIREMENT SYSTEM, On Behalf of

Itself and All Others Similarly Situated, CLASS ACTION
Plaintiff, AFFIDAVIT OF RANDALL J. BARON
IN SUPPORT OF MOTION FOR
VS. ADMISSION PRO HAC VICE

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CTI MOLECULAR IMAGING, INC, ?
RONALD NUTT, TERRY D. )
DOUGLASS, WOLF-EKKEHARD )
BLANZ, ROY DOUMANI, JAMESR. ?
HEATH, LEROY HOOD, HAMILTON?
JORDAN, WILLIAM W. MCINNES and ?
MICHAEL E. PHELPS,
)

)

Defendants.

Case 3:05-cv-00204 Document 1-4 Filed 04/15/05 Page 5of17 PagelD #: <pagelD>
STATE OF CALIFORNIA  )
COUNTY OF SAN DIEGO ~

RANDALL J. BARON, being duly sworn, deposes and says:

1. My name is Randall J. Baron. My home address is 4905 Bradshaw Court, San
Diego, CA 92130. | am a partner with Lerach Coughlin Stoia Geller Rudman & Robbins
LLP, 401 B Street, Suite 1600, San Diego, CA 92101, telephone number (619) 231-1058.

2. Itis my desire to appear as counsel pro hac vice before the Chancery Court of
Knox County, Tennessee at Knoxville in the case styled City of Monroe Employees’
Retirement System, On Behalf of liself and All Others Similarly Situated v. CTI Molecular
Imaging, Inc., et al. 1 will be representing City of Monroe Employees’ Retirement System,
and the putative class.

3, Lhave been admitted to practice law in the State of California since 1990, bar
number 150796. Tam currently licensed and in good standing to practice law in the State of
California. | have never been disbarred or suspended nor the subject of disciplinary action in
any bar or court. [am admitted to practice before all of the Courts in the State of California,
including the Northern, Central and Southern District Courts of California.

4, [have been admitted to practice law in the State of Colorado since 1993, bar
number 023633. 1am currently licensed and in good standing to practice law in the State of
Colorado. Ihave never been disbarred or suspended nor the subject of disciplinary action in
any bar or court. Jam admitted to practice before all of the Courts in the State of Colorado.

5. I have associated with local counsel Daniel D. Rhea of Arnett, Draper &

Hagood in Knoxville, Tennessee, who I understand is a member in good standing of the

Case 3:05-cv-00204 Document 1-4 Filed 04/45/05 Page 6of 17 PagelD #: <pagelD>
Tennessee State Bar, and whose office address is 2300 First Tennessee Plaza, Knoxville, TN
37901-0300.

6. Unless permitted to withdraw by order of the Court, I will continue to represent
my client in the above-mentioned cause until final determination and, with reference to all
matters incident to said causes, I consent to the jurisdiction of the courts of the State of
Tennessee, of the disciplinary tribunals of the Tennessee State Bar and of the Tennessee
Board of Bar Admissions, in all respects as if I were a regularly admitted and licensed

member of the Tennessee State Bar.

="RANDALL J. BARON

Subscribed and sworn to before me
this Gday of April, 2005

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Exhibit A

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THE

180 HOWARD STREET
STATE BAR SAN FRANCISCO, CALIFORNIA 94105-1639
OF CALIFORNIA TELEPHONE (415) 538-2000

March 17, 2005

TO WHOM IT MAY CONCERN:

This is to certify that according to the records of the State Bar, RANDALL JAY
BARON was admitted to the practice of law in this state by the Supreme Court of
California on December 4, 1990; and has been since that date, and is at date hereof,
an ACTIVE member of the State Bar of California; and that no recommendation for
discipline for professional or other misconduct has ever been made by the Board of
Governors or a Disciplinary Board to the Supreme Court of the State of California.

THE STATE BAR OF CALIFORNIA

Dina DiLoreto
Custodian of Membership Records

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Exhibit 2

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IN THE CHANCERY COURT FOR KNOX COUNTY, TENNESS 5 G, HOG AK
SIXTH JUDICIAL DISTRICT ATKNOXVILLE = ERK & MASTER

CITY OF MONROE EMPLOYEES’
RETIREMENT SYSTEM, On Behalf of
Itself and All Others Similarly Situated,

Plaintiff,
VS.

CTI MOLECULAR IMAGING, INC., et
al.,

Defendants.

Case No. 163762-3

CLASS ACTION

AFFIDAVIT OF A. RICK ATWOOD, JR.
IN SUPPORT OF MOTION FOR
ADMISSION PRO HAC VICE

Case 3:05-cv-00204 Document 1-4 Filed 04/15/05 Page 11of17 PagelD #: <pagelD>
STATE OF CALIFORNIA)
COUNTY OF SAN DIEGO *

A. RICK ATWOOD, JR., being duly sworn, deposes and says:

1. My name is A. Rick Atwood, Jr. My home address is 12755 Jordan Ridge
Court, San Diego, CA 92130, [ama partner with Lerach Coughlin Stoia Geller Rudman &
Robbins LLP, 401 B Street, Suite 1600, San Diego, CA 92101, telephone number (619) 231-
1058.

2. Itis my desire to appear as counsel pro hac vice before the Chancery Court of
Knox County, Tennessee at Knoxville in the case styled City of Monroe Employees’
Retirement System, On Behalf of Itself and All Others Similarly Situated v. CTI Molecular
Imaging, Inc., et al. I willbe representing City of Monroe Employees’ Retirement System,
and the putative class.

3. [have been admitted to practice law in the State of California since 1991. My
California bar number is 156529. I am currently licensed and in good standing to practice
law in the State of California. I have never been disbarred or suspended nor the subject of
disciplinary action in any bar or court. | am admitted to practice before all of the Courts in
the State of California, including the Northern, Central and Southern District Courts of
California.

4, I have associated with local counsel Daniel D. Rhea of Arnett, Draper &
Hagood in Knoxville, Tennessee, who I understand is a member in good standing of the

Tennessee State Bar, and whose office address is 2300 First Tennessee Plaza, Knoxville, TN

37901-0300.

. | A l =
Case 3:05-cv-00204 Document 1-4 Filed 04/15/05 Page 12o0f17 PagelD #: <pagelD>
5. Unless permitted to withdraw by order of the Court, | will continue to represent
my client in the above-mentioned cause until final determination and, with reference to all
matters incident to said causes, I consent to the jurisdiction of the courts of the State of
Tennessee, of the disciplinary tribunals of the Tennessee State Bar and of the Tennessee
Board of Bar Admissions, in all respects as if 1 were a regularly admitted and licensed

member of the Tennessee State Bar.

“Fw RICK’ATWOOD, JR.
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Subscribed and sworn to before me
this {t day of April, 2005

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MARIANNE REGAN = §
Cornmission # 1321555 e
Notary Public - Calfomia <¢
San Diego County y
My Gorn. fxpires Oct 19, 2005
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Case 3:05-cv-00204 Document 1-4 Filed 04/15/05 Page 130f17 PagelD #: <pagelD>
Exhibit A

Case 3:05-cv-00204 Document 1-4 Filed 04/15/05 Page 14o0f17 PagelD #: <pagelD>
THE

180 HOWARD STREET
STATE BAR SAN FRANCISCO, CALIFORNIA 94105-1639
OF CALIFORNIA TELEPHONE (415) 538-2000

February 23, 2005

TO WHOM IT MAY CONCERN:

This is to certify that according to the records of the State Bar, ALBERT RAY
ATWOOD was admitted to the practice of law in this state by the Supreme Court of
California on December 16, 1991; and has been since that date, and is at date hereof,
an ACTIVE member of the State Bar of California; and that no recommendation for
discipline for professional or other misconduct has ever been made by the Board of
Governors or a Disciplinary Board to the Supreme Court of the State of California.

THE STATE BAR OF CALIFORNIA

Dina DiLoreto
Custodian of Membership Records

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IN THE CHANCERY COURT FOR KNOX COUNTY, TE BSRing AN
SIXTH JUDICIAL DISTRICT AT KNOXVILL RK & MASTER

CITY OF MONROE EMPLOYEES’ Case No. 163762-3

RETIREMENT SYSTEM, On Behalf of

Itself and All Others Similarly Situated, CLASS ACTION

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)
Plaintiff, [PROPOSED] ORDER GRANTING

) ADMISSION OF RANDALL J. BARON
) AND A. RICK ATWOOD, JR. PRO HAC
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VICE

V5.

CTI MOLECULAR IMAGING, INC,, et
al.,

Defendants.

Case 3:05-cv-00204 Document 1-4 Filed 04/15/05 Page 16o0f17 PagelD #: <pagelD>
This matter came on before the undersigned Judge of the Chancery Court upon

motion to admit pro hac vice, attoeys Randall J, Baron and A. Rick Atwood, Jr.

Based on all the files, records and proceedings herein, it is hereby ordered that:
l. Randall J. Baron and A. Rick Atwood, Jr. are admitted pro hac vice, as counsel
of record for plaintiff City of Monroe Employees’ Retirement System.

IT IS SO ORDERED.
DATED: BY THE COURT:

° JUDGE OF THE CHANCERY COURT

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